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  1   JAMES M. PEARL (SB# 198481)
      jamespearl@paulhastings.com
  2   KIAURA CLARK (SB# 336314)
      kiauraclark@paulhastings.com
  3   PAUL HASTINGS LLP
      1999 Avenue of The Stars, 27th Floor
  4   Los Angeles, California 90067
      Telephone: 1(310) 620-5700
  5   Facsimile: 1(310) 620-5899
  6   ADAM M. REICH (SB# 274235)
      adamreich@paulhastings.com
  7   EMMA LANZON (pro hac vice)
      emmalanzon@paulhastings.com
  8   PAUL HASTINGS LLP
      71 South Wacker Drive, 45th Floor
  9   Chicago, Illinois 60606
      Telephone: 1(312) 499-6000
 10   Facsimile: 1(312) 499-6100
 11   [Additional Counsel for Defendant
      continued on next page]
 12
      Attorneys for Defendants,
 13   Redwood Capital Management, LLC, Redwood
      Master Fund, Ltd, Redwood Opportunity
 14   Master Fund, Ltd, Manuel 2018, LLC,
      Ginogerum, LLC, and White-Hathaway
 15   Opportunity Fund, LLC
 16
 17                        UNITED STATES DISTRICT COURT
 18                       CENTRAL DISTRICT OF CALIFORNIA
 19   SERENA FLEITES,                            CASE NO. 2:21-cv-4920
 20                  Plaintiff,                  REDWOOD DEFENDANTS’
                                                 APPLICATION FOR LEAVE TO
 21         vs.                                  FILE UNDER SEAL REDWOOD
                                                 DEFENDANTS’ REPLY IN
 22   MINDGEEK S.A.R.L. a foreign                SUPPORT OF MOTION TO DISMISS
      entity; MG FREESITES, LTD., a              PLAINTIFF’S SECOND AMENDED
 23   foreign entity; MINDGEEK USA               COMPLAINT
      INCORPORATED, a Delaware
 24   corporation; MG PREMIUM LTD,               Declaration of Adam M. Reich and
      a foreign entity; MG GLOBAL                [Proposed] Order Submitted
 25   ENTERTAINMENT INC., a                      Concurrently Herewith
      Delaware corporation; 9219-1568
 26   QUEBEC, INC., a foreign entity;
      BERND BERGMAIR, a foreign                  Place:   Courtroom 9B
 27   individual; FERAS ANTOON, a                Judge:   Hon. Wesley L. Hsu
      foreign individual; DAVID
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          REDWOOD DEFENDANTS’ APPLICATION FOR LEAVE TO FILE UNDER SEAL
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  1   TASSILLO, a foreign individual;
      VISA INC., a Delaware                 SAC filed: May 23, 2024
  2   corporation; REDWOOD
      CAPITAL MANAGEMENT, LLC,
  3   a Delaware corporation;
      REDWOOD MASTER FUND,
  4   LTD, a foreign entity; REDWOOD
      OPPORTUNITY MASTER FUND,
  5   LTD, a foreign entity; MANUEL
      2018, LLC, a Delaware corporation;
  6   GINGOGERUM, LLC, a Delaware
      corporation; WHITE-HATHAWAY
  7   OPPORTUNITY FUND, LLC, a
      Delaware corporation; COLBECK
  8   CAPITAL MANAGEMENT, LLC,
      a Delaware corporation; CB
  9   MEDIA VENTURES LLC, a
      Delaware corporation; CB
 10   AGENCY SERVICES, LLC, a
      Delaware corporation; and CB
 11   PARTICIPATIONS SPV, LLC, a
      Delaware corporation,
 12
                    Defendants.
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  1   [Additional Counsel for Defendants continued from caption page]
  2   KRISTOPHER M. HANSEN (pro hac vice)
      krishansen@paulhastings.com
  3   PAUL HASTINGS LLP
      200 Park Avenue
  4   New York, New York 10166
      Telephone: 1(212) 318-6000
  5   Facsimile: 1(212) 752-3310
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  1           Pursuant to Local Rule 79-5.2.2, Redwood Capital Management, LLC,
  2   Redwood Master Fund, Ltd, Redwood Opportunity Master Fund, Ltd, Manuel 2018,
  3   LLC, Ginogerum, LLC, and White-Hathaway Opportunity Fund, LLC (the
  4   “Redwood Defendants”) respectfully submit this Application for Leave to File Under
  5   Seal limited portions of Redwood Defendants’ Reply in Support of Motion to
  6   Dismiss Plaintiff’s Second Amended Complaint (“Reply”) (the “Application”).
  7           The Redwood Defendants sought to seal the same confidential material in the
  8   Application for Leave to File Under Seal Materials Related to the Motion to Dismiss
  9   at ECF Nos. 449 and 450 (the “First Application to Seal”). Plaintiff thereafter filed
 10   a Consolidated Opposition to Defendants’ Sealing Applications Related to
 11   Defendants’ Motions to Dismiss at ECF No. 468. Defendants filed an omnibus reply
 12   at ECF No. 471. The Court has not yet issued a ruling on the First Application to
 13   Seal.
 14           The Redwood Defendants, through counsel, advised Plaintiff, through counsel,
 15   of the Redwood Defendants’ intent to similarly apply to seal the same Confidential
 16   Information that it sought to seal in the First Application, on December 5, 2024. See
 17   Declaration of Adam M. Reich in support hereof (“Reich Decl.”), ¶ 7. Plaintiff
 18   indicated that she would oppose the Application. Id.
 19           The standard of review a court applies when reviewing applications to seal
 20   depends on whether the application is brought in connection with dispositive motions
 21   or non-dispositive motions. See Pintos v. Pac. Creditors Ass’n, 605 F.3d 665, 677-79
 22   (9th Cir. 2010). A “compelling reasons” standard applies to dispositive motions. Id.
 23           Under the “compelling reasons” standard, a district court should weigh
 24   “relevant factors” to determine if there is an articulable “compelling reason” to seal
 25   documents. Pintos, 605 F.3d at 679. “‘Relevant factors’ include the ‘public interest
 26   in understanding the judicial process and whether disclosure of the material could
 27   result in improper use of the material for scandalous or libelous purposes or
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  1   infringement upon trade secrets.’” Id. at 679 n.6 (citation omitted). This list is not
  2   exhaustive.
  3         There are a variety of “compelling reasons” to seal documents. Courts have
  4   found “compelling reasons” to seal documents, where their disclosure would be in
  5   violation of a specific confidentiality provision set forth in those documents. See,
  6   e.g., SDI Labs, Inc. v. Sameday Techs., Inc., No. CV 23-05619-MWF (MRWx), 2023
  7   WL 10407399, at *1 (C.D. Cal. Sept. 18, 2023) (concluding “compelling reasons”
  8   existed to seal a term sheet, which contained a confidentiality provision that may
  9   “expos[e] [the defendants] to a potential lawsuit” if disclosed) (alterations added)
 10   (citation omitted); Hubrick Ltd. v. Wanderset, Inc., No. CV18-7980-SJO (RAOx),
 11   2019 WL 3000652, at *6 (C.D. Cal. Mar. 19, 2019) (finding compelling reasons to
 12   seal a document, where disclosure would “risk potential law suits and injury as a
 13   result of a breached confidentiality agreement”).
 14         Courts have also found compelling reasons to seal documents, where
 15   disclosure would risk competitive injury. See, e.g., In re Qualcomm Litig., No. 3:17-
 16   cv-0108-GPC-MDD, 2018 WL 6252523, at *2 (S.D. Cal. May 9, 2018) (finding that
 17   compelling reasons existed to seal certain information subject to confidentiality
 18   agreements); Arabian v. Sony Elecs., Inc., No. 05-CV-1741 WQH (NLS), 2007 WL
 19   627977, at *14 (S.D. Cal. Feb. 22, 2007) (granting an application to seal exhibits to
 20   a declaration because they contained “proprietary and/or trade secret information[]”
 21   and the information was “of such a commercially-sensitive nature that it would create
 22   a risk of competitive injury . . . if it were disclosed to the public”); Ovonic Battery
 23   Co. v. Sanyo Elec. Co., No. 14-cv-01637-JD, 2014 WL 2758756, at *3 (N.D. Cal.
 24   June 17, 2014) (granting a request to seal a petition because it contained information
 25   that, if publicly released, “could place [the petitioner] in a diminished bargaining
 26   position in future negotiations”). Courts have also sealed documents that reflect
 27   “confidential business strategies and other commercially sensitive information.” See
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  1   Campbell v. PricewaterhouseCoopers, LLP, 642 F.3d 820, 822 n.1 (9th Cir. 2011);
  2   see also ImprimisRx, LLC v. OSRX, Inc., No. 21-cv-01305-BAS-DDL, 2023 WL
  3   7029210, at *3 (S.D. Cal. Oct. 24, 2023) (commenting that future business planning
  4   and competitive strategy amount to “quintessential business information that may
  5   harm a firm’s competitive standing if disclosed to the public”) (citations omitted).
  6   This is consistent with the United States Supreme Court’s determination that courts
  7   may seal “business information that might harm a litigant’s competitive standing[.]”
  8   Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978) (citation omitted).
  9         The Ninth Circuit has also repeatedly stated that confidential and proprietary
 10   business information should be filed under seal. See, e.g., IMAX Corp. v. Cinema
 11   Techs., Inc., 152 F.3d 1161, 1168 n.9 (9th Cir. 1998); In Re Duel-Deck Video
 12   Cassette Recorder Antitrust Litig., 10 F.3d 693, 694 (9th Cir. 1993) (noting it “is
 13   common now in business litigation” to seal “confidential [business] information”)
 14   (alteration added).
 15         In light of the foregoing, there are compelling reasons for the Court to grant
 16   the Redwood Defendants’ Application:
 17         First, portions of the Reply cite the 2013 Financing Agreement and the 2018
 18   Financing Agreement, which each contain express confidentiality provisions (see
 19   First Application to Seal (citing Pearl Decl., Exs. B at 143, C at 150-52)), and
 20   disclosure of their terms would expose the Redwood Defendants to potential
 21   litigation relating to those provisions. Accordingly, compelling reasons warrant
 22   sealing citation and/or reference thereto. See Hubrick, 2019 WL 3000652, at *6; SDI
 23   Labs, 2023 WL 10407399, at *1. In addition, because the 2013 Financing Agreement
 24   and the 2018 Financing Agreement contain confidential financing terms, were not
 25   previously disclosed before, and reflect confidential business strategies and
 26   approaches to financing negotiations of the Redwood Defendants and other lenders,
 27   there are additional compelling reasons to seal those portions of the Reply that cite
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          REDWOOD DEFENDANTS’ APPLICATION FOR LEAVE TO FILE UNDER SEAL
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  1   and/or reference the 2013 and 2018 Financing Agreements. See Actian Corp. v. AB
  2   Sciex LLC, No. 23-cv-05113-BLF, 2023 WL 7166811, at *2 (N.D. Cal. Oct. 30, 2023)
  3   (“Compelling reasons exist to seal confidential business information, the disclosure
  4   of which would cause a party competitive harm.”); Adema Techs., Inc. v. Wacker
  5   Chemie AG, No. 5:13-cv-05599-PSG, 2013 WL 6622904, at *2 (N.D. Cal. Dec. 16,
  6   2013) (finding compelling reasons justified sealing a Supply Agreement because “the
  7   structure and terms . . . [we]re considered highly confidential commercial
  8   information by [the movant]” and the movant only ever disclosed its supply
  9   agreements “with the protection of a confidentiality agreement and to government
 10   authorities when required and with as much protection from public disclosure as
 11   possible”); J.R. Simplot Co. v. Wash. Potato Co., No. C16-1851RSM, 2016 WL
 12   11066581, at *1 (W.D. Wash. Dec. 29., 2016) (finding “compelling reasons exist to
 13   seal [a financing document] because the public release of confidential finance
 14   information puts Defendants, and the companies which they manage, at a competitive
 15   disadvantage when negotiating future loan terms, contracts with customers, and
 16   business opportunities”) (alteration added). Furthermore, because disclosure of loan
 17   terms would “create an asymmetry of information in the negotiation of future . . .
 18   deals,” sealing is appropriate. Apple, Inc. v. Samsung Elecs. Co., No. 11-CV-01846-
 19   LHK, 2012 WL 4933287, at *2 (N.D. Cal. Oct. 16, 2012). Furthermore, because
 20   versions of the 2013 and 2018 Financing Agreements were produced by another party
 21   in this case, which that party’s counsel designated as Highly Confidential pursuant
 22   to the Stipulated Protective Order entered in this case (see Reich Decl., ¶ 6),
 23   compelling reasons exist to maintain citation and/or reference to the agreements’
 24   terms under seal.
 25         Second, portions of the Reply cite the Notice of Default, which was designated
 26   as confidential (see First Application to Seal (citing Pearl Decl., Ex. D)), sent in
 27   connection with confidential financing agreements, and references confidential terms
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  1   of confidential agreements.      Accordingly, compelling reasons warrant sealing
  2   citation and/or reference thereto. See Hubrick, 2019 WL 3000652, at *6; SDI Labs,
  3   2023 WL 10407399, at *1; see also Lightning Box Games Pty, Ltd. v. Plaor, Inc., No.
  4   17-cv-03764-EDL, 2017 WL 7310782, at *4 (N.D. Cal. Dec. 29, 2017) (holding that
  5   materials that “refer to confidential agreements [] often [provide] a compelling reason
  6   justifying sealing if the agreements contain commercially sensitive information”), R.
  7   & R. adopted by, 2018 WL 3069296 (N.D. Cal. Feb. 27, 2018) (citations omitted);
  8   Nicolosi Distrib., Inc. v. Finishmaster, Inc., No. 18-cv-03587-BLF, 2018 WL
  9   10758114, at *2 (N.D. Cal. Aug. 28, 2018) (ordering contracts sealed because they
 10   “contain[ed] proprietary and confidential business information, including potential
 11   trade secrets and business practices, such as product rates and purchase
 12   requirements”).
 13         In sum, compelling reasons exist to seal limited portions of the Reply that cite
 14   and/or reference details of the 2013 and 2018 Financing Agreements and the Notice
 15   of Default, which, as set forth above and in the First Application to Seal, each have
 16   compelling reasons to be maintained under seal. See, e.g., Opperman v. Path, Inc.,
 17   No. 13-cv-00453-JST, 2017 WL 1036652, at *2 (N.D. Cal. Mar. 17, 2017) (granting
 18   sealing as to excerpts of opposition brief referencing exhibits sealed by the court).
 19         In light of the fact that there are multiple, articulable compelling reasons to
 20   seal limited portions of the Reply, the Redwood Defendants respectfully request that
 21   the Court grant this Application.
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  1   DATED: December 6, 2024                   PAUL HASTINGS LLP
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  3
                                                By: /s/ James M. Pearl
  4                                                        JAMES M. PEARL
  5                                             Attorneys for Defendant Redwood
                                                Capital Management, LLC
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